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                             IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

WILLIAM NOSTHEIDE                                   Case No. 1:24-cv-00344

                                                     JUDGE MATTHEW McFARLAND

                Plaintiff,

         v.

CLARIGENT CORPORATION, et al.,

                Defendants.


                 UNOPPOSED MOTION TO EXTEND FACT DISCOVERY
                      AND DISPOSITIVE MOTION DEADLINES

         Plaintiff William Nostheide, by and through undersigned, hereby moves to extend the Fact

Discovery and Dispositive Motion deadlines specified in the Court’s Case Management Plan and

Scheduling Order (D.E. No.17) by ninety days, and provide the following in support thereof:

         1.     On or about October 22, 2024, the Court entered a Case Management and

Scheduling Order (the “Scheduling Order”), which includes Fact Discovery and Dispositive

Motion deadlines of March 21, 2025 and July 18, 2025, respectively. (See D.E. No. 17).

         2.     Immediately after the Court entered its Scheduling Order, the parties began

discussing settlement and voluntarily exchanging documents to aid those discussion;

         3.     In order to focus their efforts on settlement discussions, and to avoid the cost

attendant with engaging in formal discovery, the parties refrained from issuing discovery requests

during November of 2024;

         4.     On or about November 15, 2024, Defendant Don Wright’s mother was hospitalized,

preventing him from participating in meaningful settlement discussions for several weeks.




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       5.      On November 26, 2024, the parties reached an impasse on settlement; and

Plaintiff’s counsel began preparing written discovery requests to each Defendant;

       6.      On December 8, 2024, Plaintiff’s counsel suffered a house fire that displaced him

and his family. Plaintiff’s counsel spent the remainder of December out of the office attempting to

secure housing, clothing, and other essentials for himself, his spouse, and minor children.

Plaintiff’s counsel and his family finally moved into long-term temporary housing during the first

full week of January, 2025.

       7.      As a result of the fire, certain of counsel’s electronic devices, including the

computer he had working copies of the discovery requests to Defendants, were taken for cleaning

and smoke remediation. Due to the holidays, Plaintiff’s counsel was unable to recover the files

until mid-January, after he moved into long-term temporary housing and was able to get his

computer back.

       8.      Due to Plaintiff’s counsel’s extended absence from the office, there a significant

backlog of Pleadings that needed to be completed due to impending statutes of limitations. This

backlog of work, along with the general press of business, prevented Plaintiff’s counsel from

completing the discovery requests until now.

       9.      As a result of the foregoing, Plaintiff, is in need of additional time to complete fact

discovery and respectfully request that the Court extend the Fact Discovery deadline to June 19,

2025 and extend the Dispositive Motion deadline to October 16, 2025.

       10.     This Motion is being made in good-faith and not to unnecessarily cause delay.

       11.     Plaintiff is not requesting to move the current expert discovery deadlines as part of

this Motion.




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       12.     Prior to filing this Motion, counsel sought to determine whether Defendants would

object to the proposed extension of the discovery and dispositive motion deadlines. Defense

counsel has stated that they have no objection to the proposed extension.

       As such, good cause exists to grant Plaintiff’s Motion to Extend the Fact Discovery and

Dispositive Motion deadlines in this matter. No prior extensions have been granted; no trial date

has been set; and neither party will be prejudiced by extending the requested deadlines by the

amount of time requested.

       WHEREFORE, Plaintiff William Nostheide respectfully requests that the Court grant his

Motion to Extend the Fact Discovery and Dispositive Motion deadline to June 19, 2025 and

Dispositive Motion deadline to October 16, 2025.



                                                            Respectfully submitted,

                                                            /s/ Chris P. Wido
                                                            Chris P. Wido (0090441)
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                                                            Nostheide




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                                   CERTIFICATE OF SERVICE

        I certify that the foregoing was served via the Court’s electronic filing system on this 7th day

of February, 2025. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s electronic filing system.


                                                         /s/ Chris P. Wido
                                                         Chris P. Wido (0090441)
                                                         THE SPITZ LAW FIRM, LLC




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